Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 1 of 6
Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 2 of 6
Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 3 of 6
Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 4 of 6
Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 5 of 6
Case 6:10-cr-02020-LRR-JSS   Document 19   Filed 05/28/10   Page 6 of 6
